 

Case 3:08-cr-00245-FLW Document 185 Filed 03/13/09 Page 1 of 2 Page|D: 459
UNITED STATES DISTRICT CoURT

 

 

for the ` District of New Jersev
United States of America AMENDED
ORDER SETTING CONDITIONS
v. OF RELEASE
Anthony Laduca

Case Number: Cr. 08~245-01(FLW)

 

Defendant
I'I` IS ORDERED on this 13th day of March , 2009 that the release of the defendant is subject to the following conditions:
The defendant shall not commit any offense in violation of federal. state or local law while on release in this case.

Bail be fixed at $ and the defendant be released upon:
( ) Executing a(n) securedfunsecured appearance bond ( ) with co-signor;
( ) Executing an appearance bond and depositing in cash in the registry of the Court % of the bail fixed
( ) Executing an appearance bond with approved sureties , or the deposit of cash in the full amount of the bail in lieu thereof;
( ) Execute an agreement to post designated property. Local rule (re: value of property) waivedi'not waived by the Court.
IT IS PURTHER ORDERED that, in addition to the above, the following conditions are imposed:
( ) Report to Pretrial Services (“P’I` ”) as directed and advise them as soon as possible if you have any contact with law
enforcement personnel, including but not limited to, any arrest, questioning or traffic stop.
( ) The defendant not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any witness,
victim, or informant not retaliate against any witness, victim or informant in this case.
( ) The defendant be released into the third party custody of

 

 

Signed: Date:
who agrees (a} to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the appearance of die defendant
at all scheduled court proceedings and {c) to notify the court immediately in the event the defendant violates any conditions of release or disappears

The defendant’s travel is restricted to ( ) New Jersey ( ) New York ( ) Other
Surrender passport and/or other travel documents to P'I`S and obtain no new one.
Drug andJor alcohol testing/nearinth as deemed appropriate by PTS.
Surrender firearms or other dangerous weapons; surrender firearm purchaser’s permit to PTS.
Mental health testing/treatment as deemed appropriate by PTS.
Defendant to participate in one of the following home confinement program components and abide by all the requirements of
the program which ( ) will or ( ) will not include electronic monitoring or other location verification system. You shall pay all
or part of the cost of the program based upon your ability to pay as determined by the pretrial services
( ) m Cul'few. You are restricted to your residence every day ( ) from to , or( ) as directed by the
pretrial services office or supervising ofticer; or
( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatrnent; attorney visits; court appearances; court-ordered
obligations; or other activities as pre-approved by the pretrial services office or supervising ofticer', or
(X) (iii) Home Incarceration. You arc restricted to your residence at all times except for medical needs or l:reatment,
religious services, and court appearances pre-approved by the pret:rial'services office or supervising ofticer.
( ) Defendant is subject to the following computer/internat restrictions which may include manual inspection and!or the
installation of computer monitoring software as deemed appropriate by Pretrial Services;
( ) (i) No Computers - defendant is prohibited from possession and/or use of computers or connected devices
(ii) Computer - No Internet Access: defendant is permitted use of computers or connected devices, but is not
( ) permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging, etc);
( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected devices, and is permitted
access to the Internet (World Wide Web, FTP Sites, ]RC Servers, Instant Messaging, etc) at
[ ] home [ ] for employment purposes [ ] at any location
( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in the home utilized by other
residents shall be approved by Pretrial Services, password protected by a third party custodian approved by Pretrial
Services, and subject to inspection for compliance by Pretrial Services.
( X ) O'IHER: ALL PREVIOUSLY IMPOSED CONDITIONS SHALL REMAIN IN EFFECT.

, unless approved by PTS.

 

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Acknowledgment of Defendant

I acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth

below.
[) !/1//`_._..~_

"'( signature of bergman

Directions to United States Marshal
( x) The defendant is ORDERED released after processing
( ) The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
defendant has posted bond and/or complied with all other conditions for release `

Date: March 13, 2009 "{Ql~ § //\) J`M,___ __./

ignatnre of Judicial Offjer

Freda L. Wolfson. U.S.D.J.
Name and Title of Judicial Officer

'l`O THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonmenta
a tine, or both.

The commission cfa Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment

Federal law makes ita crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness,
victim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to
intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall be fined

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

fRev. 2/08)

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